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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                 CRIMINAL NO. 06-20663-10

v.                                             HONORABLE AVERN COHN

D-10, DEXTER HUSSEY,

                    Defendant.
                                        /


     ORDER REVOKING BOND AND FOR A PSYCHOLOGICAL EVALUATION

      On April 23, 2009, the defendant appeared for a Pretrial Release Violation hearing

at which his bond was revoked. The Court also determined that the defendant should

undergo a psychological evaluation. Therefore,

      IT IS HEREBY ORDERED that the defendant’s bond is REVOKED.

      IT IS FURTHER ORDERED that the defendant undergo a psychological examination

to be conducted locally.

      IT IS FURTHER ORDERED that the attorneys must mutually agree on a

psychologist. If mutual agreement cannot be reached, the Court will make the decision.

      SO ORDERED.


Dated: April 23, 2009                        s/Avern Cohn
                                            AVERN COHN
                                            UNITED STATES DISTRICT JUDGE


I hereby certify that a copy of the foregoing document was mailed to the attorneys of
record on this date, April 23, 2009, by electronic and/or ordinary mail.

                                             s/Julie Owens
                                            Case Manager, (313) 234-5160
